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                                No. 24-5220

           IN THE UNITED STATES COURT OF APPEALS
                    FOR THE SIXTH CIRCUIT


                            STATE OF TENNESSEE,
                             Plaintiff-Appellant,
                                      v.
   XAVIER BECERRA, IN HIS OFFICIAL CAPACITY AS SECRETARY OF HEALTH AND
    HUMAN SERVICES; UNITED STATES DEPARTMENT OF HEALTH AND HUMAN
SERVICES; JESSICA S. MARCELLA, IN HER OFFICIAL CAPACITY AS DEPUTY ASSISTANT
    SECRETARY FOR POPULATION AFFAIRS; OFFICE OF POPULATION AFFAIRS,
                           Defendants-Appellees.

                 Appeal from the United States District Court
                    for the Eastern District of Tennessee
                         No. 3:23-cv-00384-TRM-JEM

BRIEF OF MISSISSIPPI, ALABAMA, ARKANSAS, FLORIDA, GEORGIA, IDAHO,
 INDIANA, IOWA, KANSAS, KENTUCKY, LOUISIANA, MISSOURI, MONTANA,
NEBRASKA, NORTH DAKOTA, OHIO, OKLAHOMA, SOUTH CAROLINA, SOUTH
DAKOTA, TEXAS, UTAH, WEST VIRGINIA, AND WYOMING AS AMICI CURIAE
         SUPPORTING PLAINTIFF-APPELLANT AND REVERSAL


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      INTRODUCTION AND INTEREST OF AMICI CURIAE
     This case challenges the U.S. Department of Health and Human
Services’ decision to block federal funds to Tennessee based on the State’s
approach to abortion. That decision bristles against constitutional

boundaries and warrants searching—not deferential—judicial scrutiny.
     This case concerns Title X of the Public Health Service Act, which
authorizes HHS to send federal money to States to operate “voluntary
family planning projects.” 42 U.S.C. § 300(a). States may use that money
to offer a wide range of “effective family planning methods and services,”
ibid., but Congress directed that “[n]one of the funds appropriated under”
Title X “shall be used in programs where abortion is a method of family
planning,” id. § 300a-6. Despite that command, current HHS regulations
require Title X grantees to provide abortion counseling and referrals

upon request. 42 C.F.R. § 59.5(a)(5)(i), (ii). As HHS sees things, that
regulation requires States to refer for abortions that are illegal under
state law. HHS therefore halted Tennessee’s Title X family-planning
funding because that State will not refer patients for abortions that are
illegal under Tennessee law. In this lawsuit seeking to regain that
funding, the district court—at HHS’s urging—exercised “narrow,”
“deferential” review over HHS’s decision. Op., R.30, PageID#841.
     The district court was wrong to defer to HHS. Courts give agencies
deference on matters of special agency competence, on granular
questions requiring technical expertise, and on issues over which an

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agency enjoys clear authority. But courts do not defer when agency
actions (like HHS’s decision here) test constitutional boundaries.

     This is because federal agencies present special risks to the
constitutional design. Our Constitution establishes a limited federal
government and leaves power over important issues with the people.
Agencies imperil that design. Where the Constitution separates the
national government’s powers, agencies seek to concentrate power. The
Constitution vests lawmaking authority—the power to make national

policy—in a vigorous Congress. But federal agencies routinely exert
broad lawmaking power and impose major national policies. The
Constitution also divides power between the national government and
state governments. Federalism prevents the national government from
wielding so much power that it can trample liberty and keeps most power
with state governments that the people can better hold accountable.
Federal agencies undercut this framework. They regularly adopt policies
that thwart state laws—without the accountability that comes with state
lawmaking—causing federal power to swell and liberty to shrink. And
agencies imperil what may be the Constitution’s core feature: that the
people decide the hardest, most important issues. As agencies engulf
more of American life, the people lose control over those issues.
     HHS’s decision to halt Tennessee’s Title X funding presents these
risks to the constitutional design. Start with the separation of powers.
HHS seeks to force Tennessee, with the threat of losing millions of

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dollars, to refer patients for abortions that defy Tennessee state law. But
in the very statute that HHS wields to make this threat, Congress barred

States from using federal funds for abortion. At the least, Title X does not
override state abortion restrictions. Yet that is the power that HHS now
claims under Title X. And it demands deference to that view. This claim
of authority tests the separation of powers.
     Now take federalism. Under the Constitution, States have the
primary authority to protect life and health. Using that authority, some

States have taken a permissive approach to abortion. Other States—like
Tennessee—have restricted abortion. Either way, those decisions are for
each State to make. Yet HHS has upended that framework by seeking to
force Tennessee to subvert its own laws or lose out on money that helps
the State provide services that it deems critical. This intrusion on state
authority exerts serious pressure on the federal-state balance of power.
     Last, consider how this all affects the American people. Few issues
are as important and controversial as abortion. Federal lawmaking on
abortion has thus long proceeded incrementally: sweeping action has not
gained the consensus needed to become federal law. And when Congress
has legislated on abortion, it has adopted targeted laws that restrict or
discourage abortion or—like Title X—block federal dollars from funding
it. Because questions on abortion are so important, it is critical that the
people decide them. Yet HHS seeks to rob the people of power to decide
these questions for themselves by demanding, on pain of massive

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financial loss, that Tennessee refer for abortions that defy the will of its
people. That state of affairs departs from our constitutional order, which

leaves the most important matters to the people.
     These tests to the constitutional design—and what they mean for
resolving this case—are of great importance to amici curiae, the States of
Mississippi, Alabama, Arkansas, Florida, Georgia, Idaho, Indiana, Iowa,
Kansas, Kentucky, Louisiana, Missouri, Montana, Nebraska, North
Dakota, Ohio, Oklahoma, South Carolina, South Dakota, Texas, Utah,

West Virginia, and Wyoming.* In adopting the Constitution, the people
reserved most power to themselves and to States that would protect
liberty. Because of their duty to protect liberty, amici have a strong
interest in rigorous enforcement of constitutional limits—including
searching judicial review of federal agency actions that press
constitutional boundaries. Amici also have a strong interest in the
enforcement of duly enacted state laws on abortion and in the interests
that those laws serve. HHS’s decision presses constitutional boundaries
and undercuts state abortion laws. This Court should subject HHS’s

decision to searching review.

                     SUMMARY OF ARGUMENT
     Our Constitution establishes a limited federal government that

leaves most power with—and accountable to—the people. Federal

     * The States may file this brief without the parties’ consent or leave

of the Court. Fed. R. App. P. 29(a)(2).
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agencies present special risks to that design. So when agency action
pushes constitutional bounds, judicial review of that action is

searching—not deferential. The HHS decision challenged here pushes
constitutional bounds. The decision tests the separation of powers, saps
federalism, and undermines decisions made by the people of Tennessee.
This Court should therefore exercise searching review of that decision
and reject HHS’s plea for deference.

                                ARGUMENT
I.   When Agency Action Pushes Constitutional Boundaries,
     Judicial Review Of That Action Is Searching—Not
     Deferential.
     Federal courts often decide challenges to agency action. At times
courts review such action deferentially. But that is not so when agency
action bristles against the constitutional design. When that happens,
judicial review is searching.

     A.    The Constitution Establishes A Limited Federal
           Government    And   Leaves   Power   With—And
           Accountable To—The People.
     The Constitution protects liberty by limiting government power. It
does this mainly through “structural protections.” Bowsher v. Synar, 478

U.S. 714, 730 (1986). It divides power at the national level, further
divides power between the national and state governments, and
otherwise reinforces that power remains with and is accountable to the

people—particularly on what is most important.


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     Start at the national level, with the separation of powers. The
Constitution “divide[s] the ... powers of the ... Federal Government into

three defined categories, Legislative, Executive, and Judicial.” INS v.
Chadha, 462 U.S. 919, 951 (1983). The Framers understood that
“unit[ing]” different powers in the “same person or body” destroys
“liberty.” The Federalist No. 47 (James Madison) (quoting Montesquieu).
By “diffus[ing] power,” then, the Constitution aims to “better ... secure
liberty.” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 635

(1952) (Jackson, J., concurring). All the Constitution’s divisions of
national power are critical. But the division most important to national
policymaking is the one between the legislative and executive branches.
The Constitution establishes “a vigorous Legislative Branch and a
separate and wholly independent Executive Branch, with each branch
responsible ultimately to the people.” Bowsher, 478 U.S. at 722. Each of
those branches must “confine itself to its assigned responsibility” and not
“exceed” constitutional limits by exercising power assigned to the other
branch. Chadha, 462 U.S. at 951.
     Next, take the division between the national and state
governments: federalism. The Constitution embraces a system of “dual
sovereignty,” in which “States possess sovereignty concurrent with that
of the Federal Government.” Gregory v. Ashcroft, 501 U.S. 452, 457
(1991). By striking a proper “balance of power between the States and
the Federal Government,” federalism complements the separation of

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powers by “secur[ing] to citizens the liberties that derive from the
diffusion of sovereign power.” New York v. United States, 505 U.S. 144,

181 (1992). And instead of forcing the people “to rely solely upon the
political processes that control a remote central power,” the federal
structure lets States take different approaches that respond “to the
diverse needs of a heterogeneous society.” Bond v. United States, 564 U.S.
211, 221 (2011). By leaving most power with the States, the Constitution
makes those who most wield power over everyday life accountable to the

people as a distant national government can never be. See Gregory, 501
U.S. at 458; cf. NFIB v. Sebelius, 567 U.S. 519, 578 (2012) (opinion of
Roberts, C.J.) (“Permitting the Federal Government to force the States to
implement a federal program would threaten the political accountability
key to our federal system.”).
     Last, take the core aim of the Constitution: protecting liberty by
leaving power with—and making power accountable to—the people. See
U.S. Const. amend. X. “Our Constitution was adopted to enable the
people to govern themselves, through their elected leaders.” Free
Enterprise Fund v. PCAOB, 561 U.S. 477, 499 (2010). The constitutional
design ensures that the officials who wield government power remain
“accountable to political force and the will of the people,” Freytag v.
Commissioner,    501     U.S.   868,     884   (1991),   and    face      “electoral
ramifications” when they use power poorly, New York, 505 U.S. at 169.
The separation of powers and federalism of course serve this aim. And

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the Constitution reinforces those protections by limiting federal power—
particularly national lawmaking power. The Constitution makes that

power hard to exercise. A policy can become federal law only by majority
vote of two differently composed houses of Congress and approval by the
President. U.S. Const. art. I, § 7. This process is deliberately challenging.
See Chadha, 462 U.S. at 944, 949, 959. Requiring hard work and buy-in
from a wide cross-section of the people’s elected representatives ensures
that “dependence on the people” remains the “primary contro[l] on the

government.” Free Enterprise Fund, 561 U.S. at 501.

     B.    Federal Agencies Present Special Dangers To The
           Constitutional Design.
     Against the constitutional design stand federal agencies. Agencies
pose many risks to that design, but three are especially acute.
     First, agencies erode the separation of powers. Agencies are housed
in the executive branch yet often assert legislative power over matters of
“vast economic and political significance.” Alabama Ass’n of Realtors v.
HHS, 141 S. Ct. 2485, 2489 (2021) (per curiam) (internal quotation marks
omitted). Agencies have adopted many national policies—on heated,

important issues—that operate as federal law even though those policies
would never have been enacted by Congress. See infra Part I-C (giving
examples). That is especially so in the modern day, when “the vast
majority” of federal “lawmaking” no longer “take[s] place in Congress, but
within the hundreds of federal agencies spread across the modern

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regulatory state.” Jonathan H. Adler & Christopher J. Walker,
Delegation and Time, 105 Iowa L. Rev. 1931, 1975 (2020); see Ronald A.

Cass, Rulemaking Then and Now: From Management to Lawmaking, 28
Geo. Mason L. Rev. 683, 694 (2021) (Congress passes 200-400 laws each
year; federal agencies adopt some 3000-5000 final rules each year).
Agencies    have    thus    overtaken       much    of   Congress’s        “assigned
responsibility.” Chadha, 462 U.S. at 951.
     Second, federal agencies imperil federalism. Just as there is

“hydraulic pressure inherent within each of the separate [federal]
Branches to exceed the outer limits of its power,” Chadha, 462 U.S. at
951, there is inherent pressure for the federal government to exceed its
authority by invading the domain of States. Cf. Free Enterprise Fund v.
PCAOB, 537 F.3d 667, 694 n.4 (D.C. Cir. 2008) (Kavanaugh, J.,
dissenting) (“Power abhors a vacuum.”), aff’d in part, rev’d in part, and
remanded, 561 U.S. 477 (2010). As federal power expands, it does so at
the expense of state power. That expense is costly indeed: the people can
far better channel power and hold officials accountable at the state level.
The ability to disrupt the traditional federal-state balance is thus an
“extraordinary power” that Congress “does not exercise lightly.” Gregory,
501 U.S. at 460. Yet federal agencies now routinely “intrude[ ] into” the
“domain of state law.” Alabama Ass’n, 141 S. Ct. at 2489. And they often
do so using stale, vague, or inapt delegations of power that do not reflect
Congress’s “clear and manifest” “intent to intrude on state governmental

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functions.” Gregory, 501 U.S. at 461, 470. “[T]he background principles of
our federal system ... belie the notion that Congress would use” “obscure

grant[s] of authority to regulate areas traditionally supervised by the
States’ police power.” Gonzales v. Oregon, 546 U.S. 243, 274 (2006). Yet
agencies plow ahead, claiming more for themselves—and less for States.
     Third, agencies seize power from the people. Only a “vigorous”
Congress—“responsible ultimately to the people” through elections—
enjoys national lawmaking authority. Bowsher, 478 U.S. at 722. When

elected representatives in Congress “make[ ] ... decision[s] in full view of
the public,” those officials “suffer the consequences if” a decision “turns
out to be detrimental or unpopular.” New York, 505 U.S. at 168. And the
challenges of the federal-lawmaking process ensure that “the people”
retain ultimate policymaking control. Free Enterprise Fund, 561 U.S. at
501. But agencies operate outside these constraints. They are staffed by
faceless functionaries who are “neither elected nor reelected” and are
“controlled only spasmodically by officials who are.” John Hart Ely,
Democracy and Distrust 131 (1980); see Free Enterprise Fund, 561 U.S.
at 499 (“The growth of the Executive Branch, which now wields vast
power and touches almost every aspect of daily life, heightens the concern
that it may slip from the Executive’s control, and thus from that of the
people.”). This “insulat[ion]” from “electoral ramifications” “diminishe[s]”
the “[a]ccountability” the Constitution envisions. New York, 505 U.S. at
169. As a result, agencies often adopt policies, on major issues, that the

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people as a whole do not want. Cf. West Virginia v. EPA, 142 S. Ct. 2587,
2608-09 (2022) (describing cases where agencies adopted policies that

would likely have failed legislatively).

     C.    Because Agencies Present Special Dangers, Courts
           Must Be Searching—Not Deferential—In Reviewing
           Agency Action That Pushes Constitutional Boundaries.
     Given the risks that agencies pose to the constitutional design,
courts must be vigilant in policing agency actions that test constitutional

limits. The Supreme Court has demonstrated this in many cases.
     First, the Supreme Court has safeguarded the separation of powers
by blocking agency actions that arrogate legislative power from Congress.
In West Virginia v. EPA, for example, the Court rejected the EPA’s claim
of authority to “restructure the American energy market” by “forc[ing] a
nationwide transition” to renewable energy sources. 142 S. Ct. at 2610,

2616. “A decision of such magnitude and consequence,” the Court ruled,
“rests with Congress itself”—or at least with “an agency acting pursuant
to a clear delegation from that representative body.” Id. at 2616.
Similarly, in NFIB v. OSHA, 142 S. Ct. 661 (2022) (per curiam), the Court
rejected the Occupational Safety and Health Administration’s attempt to
impose a nationwide vaccine mandate on “roughly 84 million workers.”

Id. at 662. The “responsibility” for “weigh[ing] [the] tradeoffs” of such “a
significant encroachment” on the American public, the Court stressed,




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belongs to “those chosen by the people through democratic processes.” Id.
at 665, 666.

     The Supreme Court has rejected many other agency actions that
intruded on Congress’s legislative authority. E.g., Alabama Ass’n, 141
S. Ct. at 2486, 2490 (“Congress, not the CDC,” is responsible for deciding
“whether the public interest merits” a “nationwide moratorium on
evictions” during a pandemic); Utility Air Regulatory Group v. EPA, 573
U.S. 302, 324 (2014) (rejecting view of Clean Air Act that would have

“br[ought] about an enormous and transformative expansion in EPA’s
regulatory authority without clear congressional authorization”); FDA v.
Brown & Williamson Tobacco Corp., 529 U.S. 120, 125-26 (2000)
(rejecting FDA’s claim that its power over “drugs” and “devices” includes
power to regulate or ban tobacco products). In doing so, the Supreme
Court has applied a “presum[ption]” that “Congress intends to make
major policy decisions itself”—through legislation—and “not leave those
decisions to agencies.” West Virginia, 142 S. Ct. at 2609. Courts should
thus look skeptically—not deferentially—when agencies make broad
uses of legislative power.
     Second, the Supreme Court has halted agency actions that erode
federalism. The Court has been especially wary of actions that “intrude[ ]
into an area that is the particular domain of state law.” Alabama Ass’n,
141 S. Ct. at 2489. Thus in Alabama Association of Realtors, the Court
rejected the CDC’s claimed authority to impose a nationwide eviction

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moratorium in part because that action “intrude[d]” on “landlord-tenant
relationship[s]” traditionally regulated by States. Ibid. And in Gonzales

v. Oregon, the Court refused to read the federal Controlled Substances
Act to give the Attorney General power “to prohibit doctors from
prescribing regulated drugs for use in physician-assisted suicide.” 546
U.S. at 248-49. The Court rejected the claimed power of “a single
executive officer” “to effect a radical shift of authority from the States to
the Federal Government to define general standards of medical practice

in every locality.” Id. at 275. Similarly, in Solid Waste Agency of Northern
Cook County v. U.S. Army Corps of Engineers, 531 U.S. 159 (2001), the
Court refused to read the Clean Water Act to give a federal agency control
over certain lands traditionally regulated by States. Id. at 162. A contrary
view would have “result[ed] in a significant impingement of the States’
traditional and primary power over land and water use.” Id. at 174. In
all these cases the Supreme Court scrutinized agency action not
deferentially but vigilantly—in a way that honored federalism and
preserved the “proper balance between the States and the Federal
Government.” Gregory, 501 U.S. at 459.
     Third, the Supreme Court has closely examined agency actions that
take major issues away from the people. A prominent recent example is
the Court’s rejection of a workplace-safety agency’s effort to mandate
vaccination for much of the U.S. workforce. See OSHA, 142 S. Ct. at 664-
66. Such a consequential, debated issue was for the people’s elected

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representatives, not unelected federal functionaries. The Court’s careful
scrutiny was particularly apt because the agency’s actions set a national

policy that cut off an “earnest and profound debate” “across the country”
on a matter of great importance. Gonzales, 546 U.S. at 267. The
Constitution largely leaves such “political and moral debate[s],” id. at
249, to the people, to resolve through persuasion and voting. This respect
for the people “is vital because” (as “the framers believed”) “a republic—
a thing of the people—[is] more likely to enact just laws than a regime

administered by a ruling class of largely unaccountable ‘ministers.’” West
Virginia, 142 S. Ct. at 2617 (Gorsuch, J., concurring). So when
unaccountable ministers test our constitutional design, courts must
subject their work to searching review.

II.   HHS’s Decision Pushes Constitutional Boundaries And
      Thus Warrants Searching Judicial Review.
      This case challenges HHS’s decision to block Title X funding to
Tennessee because the State does not refer patients for abortions that
are illegal under state law. HHS’s decision tests constitutional bounds.
This Court should therefore reject HHS’s plea for “narrow,” “deferential”

review (HHS Opp., R.26, PageID#378) and should subject HHS’s actions
to searching review.

      A.    HHS’s Decision Undercuts The Separation Of Powers.
      HHS’s decision blocks Title X funds based on Tennessee’s approach
to abortion. This raises serious separation-of-powers problems.

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       First consider the landscape under HHS’s actions. Title X
authorizes HHS to send federal money to States to operate “voluntary

family planning projects.” 42 U.S.C. § 300(a). States may use that money
to offer many services, including “natural family planning methods,
infertility services, and services for adolescents.” Ibid. But Title X does
not allow spending for abortion. It does the opposite: it prohibits sending
money to “programs where abortion is a method of family planning.” Id.
§ 300a-6. Abortion policy has always been an issue that is in the first

instance for legislatures—a feature made even clearer by Dobbs v.
Jackson Women’s Health Organization, 142 S. Ct. 2228 (2022). Yet HHS
now claims that it has power to revoke all of a State’s family-planning
funding if that State will not refer patients for abortions that defy state
law.
       Allowing a federal agency to override state abortion laws in this
way would require a breathtaking feat of federal legislation. Abortion is
“unique” and “fraught with consequences,” Planned Parenthood of
Southeastern Pennsylvania v. Casey, 505 U.S. 833, 852 (1992)—after all,
it “presents an irreconcilable conflict between the interests of a pregnant
woman who seeks an abortion and the interests in protecting fetal life,”
Dobbs, 142 S. Ct. at 2304 (Kavanaugh, J., concurring). Many federal
legislative proposals have sought to address abortion. E.g., Women’s
Public Health and Safety Act, S. 471, 118th Cong. (2023); Women’s
Health Protection Act of 2023, S. 701, 118th Cong. (2023). Yet few have

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gained the consensus needed to become federal law. The rare successes
have been targeted laws that, far from endorsing abortion, restrict or

discourage it. E.g., 136 Stat. 4459, 4908 (2022) (Hyde Amendment,
restricting use of federal funds for certain abortions); 18 U.S.C. § 1531
(Partial-Birth Abortion Ban Act); id. §§ 1461, 1462 (criminal laws making
abortion drugs nonmailable and nonshippable by common carrier).
     Title X is just this type of targeted law. Far from conferring on HHS
the power to override state abortion laws, Title X establishes that “[n]one

of the funds appropriated” to HHS under the statute may be used “in
programs where abortion is a method of family planning.” 42 U.S.C.
§ 300a-6. Congress thus decided “to subsidize family planning services
which will lead to conception and childbirth” rather than to “promote or
encourage abortion.” Rust v. Sullivan, 500 U.S. 173, 193 (1991). Title X
is part of a long tradition of restricting the use of federal funds for
abortions. See, e.g., 136 Stat. at 4908; Compl. ¶¶ 35-37, R.1, PageID#8-9
(collecting similar laws).
     This all points up the obvious: Congress has never enacted a
nationwide regime—in Title X or otherwise—that authorizes federal
agencies like HHS to subvert state abortion laws. Yet HHS here claims
the power to itself take such actions—and demands that this Court defer
to its choice. But by claiming the power to make a “decision of such
magnitude and consequence,” West Virginia, 142 S. Ct. at 2616, HHS has
invaded Congress’s “assigned responsibility” and weakened the

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Constitution’s checkpoints for democratic accountability. INS v. Chadha,
462 U.S. 919, 951 (1983); see id. at 946-51. Under our constitutional

design, the “responsibility” for “weigh[ing] [the] tradeoffs” of abortion
policy is with elected officials “chosen by the people through democratic
processes.” OSHA, 142 S. Ct. at 666. HHS’s decision undermines this
design and thus warrants this Court’s close scrutiny.

     B.    HHS’s Decision Erodes Federalism.
     HHS’s decision is also hostile to federalism.

     Under the Constitution, States have “primar[y]” authority over
health and safety. Hillsborough County v. Automated Medical
Laboratories, Inc., 471 U.S. 707, 719 (1985). “[T]he structure and
limitations of federalism” “allow the States great latitude under their
police powers” to enact laws protecting “the lives, limbs, health, comfort,
and quiet of all persons.” Gonzales, 546 U.S. at 270 (internal quotation
marks omitted). This authority includes regulating or restricting
abortion to protect life and health. See Dobbs, 142 S. Ct. at 2284.
      Using their retained constitutional authority, States take varying
approaches to abortion. Some States have adopted permissive regimes.
Other States (like Tennessee) impose tighter regulations or restrictions.
Abortion laws in those latter States ubiquitously protect a woman’s life.
E.g., Tenn. Code Ann. § 39-15-213(c)(1)(A); Miss. Code Ann. § 41-41-
45(2). They commonly include other exceptions. E.g., Tenn. Code Ann.
§ 39-15-213(c)(1)(A) (exception for serious health risks); Miss. Code Ann.
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§ 41-41-45(2) (exception for rape). These laws reflect the approach the
Constitution envisions for addressing hard issues that require

“legislative bodies” to “draw lines that accommodate competing
interests.” Dobbs, 142 S. Ct. at 2268.
     For over 50 years, Tennessee has used Title X funds to provide
family-planning and community-health services. Compl. Ex. 4, R.1-4,
PageID#102-03. Each year, the State’s Title X program offers natural-
family-planning and fertility counseling, pregnancy testing, infertility

services, advice on adoption and foster-care placement, and more to over
40,000 Tennesseans—many of whom cannot afford such care elsewhere.
Id. at PageID#103. The State has decided that these services are
essential—indeed, so important to its citizens’ welfare that the State has
decided to provide these services itself. But the State has also decided
that abortions are generally unlawful in Tennessee. Consistent with that
view, the State’s Title X program offers “counseling and referrals only for
... pregnancy terminations” that are legal under state law—while
otherwise offering a broad range of family-planning services. Compl. ¶ 8,
R.1, PageID#3. That decision is for the State and is a reasonable one for
a State to make.
     Rather than respect the State’s measured decision, HHS rescinded
tens of millions of dollars in funding from Tennessee because the State
wants to provide family-planning services while respecting its own
abortion laws. The agency cut off all that funding based on the possibility

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that someone, in a State where abortion is generally unlawful, might ask
a Title X provider to refer her for an abortion that is illegal under state

law. The agency’s decision undermines the choices that Tennessee has
made to protect health and safety and thus “intrude[s] on state
governmental functions.” Gregory v. Ashcroft, 501 U.S. 452, 470 (1991).
Without any federal law expressing Congress’s “exceedingly clear” wish
“to significantly alter the balance between federal and state power,”
Alabama Ass’n of Realtors v. HHS, 141 S. Ct. 2485, 2489 (2021) (per

curiam), HHS has sought to “shift ... authority from the States to the
Federal Government” on abortion. Gonzales, 546 U.S. at 275; see Dobbs,
142 S. Ct. at 2284 (the “authority” to “regulat[e] or prohibit[ ] abortion”
belongs to “the citizens of each State”). Given these harms to federalism,
this Court should view HHS’s actions with skepticism.

     C.    HHS’s Decision Robs From The People Decisions Of
           Great Importance.
     Finally, HHS’s decision departs from the central tenet of our
Constitution:   that      power—particularly       over       important,   hard,
controversial issues—resides with and must be accountable to the people.

     Few issues are as important, hard, and controversial as abortion.
Supra pp. 15-16. The Constitution thus leaves the task of regulating and
restricting abortion to “the people and their elected representatives.”
Dobbs, 142 S. Ct. at 2284. In keeping with that design, the people of
Tennessee have decided that the state constitution does not “protect[ ] a

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right to abortion or require[ ] the funding of an abortion.” Tenn. Const.
art. I, § 36. And the people, through their elected representatives, have

decided that “unborn human beings” have a “fundamental” “right ... to
life,” that abortion is “fraught with consequences” and presents risks to
the “physical and psychological health of women,” and that abortion
endangers “the integrity and ethics of the medical profession.” Tenn.
Code Ann. § 39-15-214(a)(1), (4), (6), (76). Tennessee thus now generally
prohibits abortions, with exceptions to safeguard life and health. Id. § 39-

15-213(c)(1)(A). Not all States balance (or view) the competing interests
this way, but that is how the people of Tennessee see them. And in our
constitutional system, the decision on this hard issue is theirs.
     But HHS has refused to accept the choices made by the people of
Tennessee, “through their elected leaders,” on fraught and consequential
questions of policy. Free Enterprise Fund v. PCAOB, 561 U.S. 477, 499
(2010). HHS is not content to respect the result of Tennessee’s “earnest
and profound debate” on the “morality, legality, and practicality” of
abortion—including whether to allow it and how to regulate it. Gonzales,
546 U.S. at 249. In the decision challenged here, HHS has instead done
all it can to override those considered choices. But the Constitution does
not give HHS that say over the people’s decisions in this fraught area.
Far from meriting “narrow” and “deferential” scrutiny for its decision
challenged here, HHS Opp., R.26, PageID#378, HHS’s decision should for



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these reasons—and those given above—face this Court’s searching
review.

                             CONCLUSION
     The Court should exercise searching—not deferential—review over
HHS’s decision to halt Tennessee’s funding, hold that that decision is

unlawful, and reverse the judgment below.
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                     CERTIFICATE OF SERVICE
     I, Justin L. Matheny, hereby certify that the foregoing brief has
been filed with the Clerk of Court using the Court’s electronic filing
system, which sent notification of such filing to all counsel of record.
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